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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 CONSTANCE JENKINS,
 PLAINTIFF                                           CIVIL ACTION NO. 21-2063

 V.                                                  JUDGE

 WASHINGTON PARISH SCHOOL                            MAGISTRATE JUDGE
 BOARD, TRICIA SMITH, AND FRANCES
 VARNADO,
 DEFENDANTS


                                         COMPLAINT
         Plaintiff Constance Jenkins brings this action to obtain redress for deprivation of her rights

under the Title VII, Section 1983, the First Amendment, Fourteenth Amendment, and Louisiana

Law.

                                           I. PARTIES

1. Plaintiff is Constance Jenkins. She is a person of the full age of majority.

2. Defendant, Washington Parish School Board (“School Board”) is a political subdivision of the

      State of Louisiana which governs the Washington Parish School System.

3. Defendant, Tricia Smith (“Smith”), is a natural person domiciled in Washington Parish.

4. Defendant, Frances Varnado (“Varnado”) is a natural person domiciled in Washington Parish.

      She is named as a defendant in her official capacity as Superintendent for the Washington

      Parish School Board. She is also named in her individual capacity for the alleged violations of

      § 1983.

                              II. JURISDICTION AND VENUE

5. Plaintiff brings this action under the United States Constitution and Title VII of the Civil Rights

      Act.
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6. The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 because it presents a

   federal question.

7. The jurisdiction of this Court is also invoked pursuant to 28 U.S.C. § 1334 because Plaintiff

   attempts to recover damages for injury to her person and property by an act done in furtherance

   a conspiracy to impede, hinder, obstruct, or defeat the due course of justice in any State or

   Territory, with intent to deny to Plaintiff the equal protection of the laws, or to injure Plaintiff

   or Plaintiff’s property for lawfully enforcing, or attempting to enforce, the right of Plaintiff to

   the equal protection of the laws.

8. This Court has general personal jurisdiction over the School Board, Smith and Varnado

   because they each have such minimum contacts with the forum so that exercise of jurisdiction

   does not offend traditional notions of fair play and substantial justice. Each defendant has a

   presence in Louisiana, has systematic and continuous activities within Louisiana, enjoys the

   benefits and protections of state laws and it is reasonable to expect Defendant to defend itself

   in Louisiana.

9. This Court has specific personal jurisdiction over Defendants because Plaintiff’s claims arise

   out of and is related to contact with the forum.

10. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) because all defendants reside

   in Louisiana and in the Eastern District of Louisiana.

11. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part

   of the events or omissions giving rise to the claim occurred in the Eastern District of Louisiana

   and not all defendants reside in Louisiana.

                                          III.    FACTS

12. On or around 2019, the School Board hired Mrs. Jenkins as an LPN to work at Mt. Hermon

   School (“MHS”).
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13. Mt. Hermon High School is a school within the Washington Parish School System.

14. Mrs. Jenkins reported directly to the school principal, Dawn Seal. She also directly reported to

   the RN Supervisor, Brittany Fussell and the director of healthcare department, Tricia Smith.

15. The entire school system shut down in 2019 and the beginning of 2020 in response to the

   COVID-19 Pandemic.

16. During this time frame, Mrs. Jenkins publicly supported Reginald McMasters as a candidate

   for Washington Parish Council. Mr. McMasters’ opponent was Shane Smith, who is the

   husband of defendant, Tricia Smith.

17. Mr. Smith had openly requested Mrs. Jenkins support him instead, but she did not do so.

   Ultimately, Mr. Smith was not elected.

18. In September 2020, Mrs. Jenkins returned to campus when the schools re-opened, and she ran

   into Mr. Smith on MHS’ campus.

19. Mr. Smith inquired as to why Mrs. Jenkins was on campus, and she advised him that she

   worked at MHS.

20. Almost immediately thereafter, Mrs. Smith commenced an unrelenting assault on Jenkins’

   employment and reputation, which culminated in multiple violations of federal and state laws

   and ultimately led to the false allegations that gave rise to her improper termination.

21. Smith’s targeting of Jenkins began back as soon as Smith’s husband became aware that Jenkins

   worked under Mrs. Smith.

22. In March 2021, Smith presented Jenkins with written documentation of a verbal warning in

   which Mrs. Smith detailed a laundry list of issues dating back 6 months – none of which were

   ever addressed previously.

23. The first issue was identified was “Supply orders in August and November”.
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24. In that particular instance, Mrs. Jenkins had ordered gloves and sanitation supplies for her

   department. When the order arrived, the school janitors (male) mistakenly took the products

   thinking it was his order.

25. Rather than discipline the janitor, Smith blamed Jenkins and claimed the janitor’s mistake was

   somehow a violation of the chain of command by Jenkins.

26. Further Smith verbally disciplined Jenkins and ordered her not to speak with anyone other than

   her supervisors about her working conditions, which is a blatant violation of the NLRA.

27. Specifically, Mrs. Smith stated in writing, “These are the only individuals with whom you

   should discuss any issues related to Mt. Hermon School.”

28. To be clear, Mrs. Smith treated Mrs. Jenkins differently than the male employee who actually

   committed the error but who had not publicly supported her husband’s political opponent.

29. Mrs. Smith discriminated against Mrs. Jenkins based on her gender by singling her out and

   treating her differently than her male co-workers.

30. Mrs. Smith violated Mrs. Jenkins’ First Amendment rights by targeting her and retaliating

   against her for supporting a political candidate other than Mrs. Smith’s husband.

31. Smith next disciplined Jenkins under the pretext that she allowed teachers to use the bathroom

   in the teacher’s lounge.

32. At the beginning of the school year, Mrs. Jenkins was assigned to the room that was previously

   used as the teachers’ lounge as her new nursing station.

33. When there were no patients in the room, teachers would come into the lounge to use the

   restroom.

34. Smith learned of this practice and instructed Mrs. Jenkins to no longer allow teachers to use

   the restroom. Mrs. Jenkins complied.
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35. Upon information and belief, no teachers were disciplined for using the bathroom against Mrs.

   Smith’s wishes.

36. Nonetheless, Smith reprimanded Jenkins for this, which ultimately led to Jenkins’ termination.

37. That is to say, the only employee who was disciplined was Ms. Jenkins – the only employee

   who publicly supported Smith’s political rival.

38. Smith next criticized and disciplined Jenkins for reporting openly racist and incendiary

   behavior by a teacher.

39. Mrs. Jenkins’ daughter attends MHS in its Special Education department.

40. In December 2020, racial tensions were high at the school and culminated in multiple acts of

   physical altercations between students and even parents.

41. Around that time, Jenkins’ daughter reported that her teacher, Catherine Davis (African-

   American), told her students, “White people are going to have to start respecting black people.”

42. Jenkins was concerned that the teacher had shown racial hostility in the classroom and the

   remarks could incite even more violence in the workplace. At a minimum, it was highly

   inappropriate for a teacher to make those kinds of statements to her Special Education class

   students.

43. So, as a parent and a co-worker, Jenkins complained of racism and hostile work environment

   to the School Board.

44. In Violation of Title VII and in retaliation for making a complaint of racism, Smith verbally

   disciplined Jenkins for filing this complaint.

45. Perhaps the most concerning statement by Mrs. Smith was, “You lost your rights to speak as a

   as a parent when you took the job here.”
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46. Smith disciplined the white employee who complained of racism and hostile work

   environment, but she did not discipline the African-American employee who made the racist

   statement.

47. Smith then disciplined Jenkins for “Vaccine signup lists and e-mail in February”.

48. In February 2021, Mrs. Fussell sent a Google Docs document to Mrs. Jenkins that Mrs. Jenkins

   was supposed to use to record COVID vaccinations administered at the school. However, Mrs.

   Fussell did not grant Jenkins the requisite permissions to edit the document initially.

49. Jenkins responded to Mrs. Fussell and asked her to grant the permissions. Mrs. Fussell

   eventually did so, but the process took a few days.

50. In the meantime, Mrs. Jenkins maintained the list in paper form. Smith blamed Jenkins for

   Mrs. Fussell’s error and failure to provide adequate permission. Again, Mrs. Smith singled out

   Mrs. Jenkins and did not discipline Mrs. Fussell, who had not publicly supported Mr. Smith’s

   political opponent.

51. Next, Mrs. Smith disciplined Mrs. Jenkins for changing her e-mail address after Mrs. Jenkins

   got married.

52. When discussing this at the verbal discipline session, Mrs. Smith reprimanded Mrs. Jenkins

   for notifying HR and payroll that she had gotten married and now had a new surname.

53. Mrs. Smith stated that it cost money to change a person’s name, and she told Mrs. Jenkins that

   she should not have done so without getting approval from Mrs. Smith first.

54. Mrs. Smith verbally disciplined a female employee who got married for notifying the HR and

   payroll departments to update her personnel records.

55. Upon information and belief, Mrs. Smith does not discipline male employees for getting

   married.
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56. Finally, Mrs. Smith verbally disciplined Mrs. Jenkins for a “water issue in March”.

57. In March, students started using the sink and faucet in the health department to get water

   because they did not have enough water bottles at the school.

58. Mrs. Jenkins contacted her immediate supervisor, Mrs. Fussell, and asked if it was possible to

   get more bottled water for the students.

59. Mrs. Smith disciplined Mrs. Jenkins under the pretext that Jenkins had somehow attempted to

   take on an administrative role by asking her supervisor for more water.

60. Smith next categorized a list of alleged offenses in which she accused Mrs. Jenkins of violating

   rules of confidentiality. Specifically, Mrs. Smith alleged four different violations: 1) discussing

   students’ classroom issues with staff not related to healthcare; 2) talking to teachers and parents

   about a suspected case of chicken pox; 3) calling other nurses to discuss MHS; and 4) repeating

   confidential conversation details to other staff. Mrs. Jenkins never did any of these things.

61. During the verbal discipline session, Mrs. Smith explained the “classroom issues” allegation

   as being the same as the water issue described above. In short, Mrs. Smith again reprimanded

   Mrs. Jenkins for calling her immediate supervisor to ask if it was possible to get more water

   bottles because children were trying to use the nurse’s sink to get water.

62. In other words, Mrs. Smith repeatedly reprimanded Mrs. Jenkins for going outside the chain

   of command, and then she also reprimanded her for staying in the chain of command by asking

   her supervisor a question.

63. Clearly, the stated reasons for this discipline were pretextual.

64. In regard to the stated chicken pox issue, a teacher, Sharonda Thigpen, brought a student to the

   nurse’s station and told Mrs. Jenkins that she thought the student had chicken pox. Mrs. Jenkins

   examined the student and contacted her immediate supervisor about the potential of having
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   chicken pox at the school. Mrs. Jenkins did not discuss the issue with anyone other than as

   described above.

65. The issue relating to calling other nurses to discuss MHS involves Mrs. Jenkins’ job and

   working conditions.

66. Mrs. Jenkins received a telephone call from a co-worker. The co-worker asked Mrs. Jenkins,

   “Where are you going?”

67. This prompted a conversation in which Mrs. Jenkins learned that Mrs. Smith had openly stated

   that she was looking to hire a nurse to replace Mrs. Jenkins.

68. Mrs. Jenkins then called some co-workers to try to determine if the rumor was true.

69. Mrs. Jenkins was exercising her NLRA rights to discuss her working conditions. Mrs. Smith

   reprimanded her for doing so and in turn violated the NLRA again.

70. When Mrs. Smith explained the fourth issue relating to repeating confidential conversations,

   she repeated various allegations from earlier. Similarly, Mrs. Smith repeated the above

   allegations when she characterized them as violations of Mrs. Jenkins’ job description.

71. Mrs. Smith’s ultimate goal was to paper Mrs. Jenkins’ personnel file in an attempt to justify

   an improper termination.

72. None of the identified incidents indicate a breach in the chain of command or confidentiality.

73. The discipline does showcase Mrs. Smith’s severe and pervasive harassment of Mrs. Jenkins

   and how Mrs. Smith repeatedly discriminated against Mrs. Jenkins based on her race and

   gender; it also demonstrates Mrs. Smith repeated retaliation against Mrs. Jenkins for exercising

   her First and Amendment rights of free speech, Title VII right to complain of racial

   discrimination and hostile work environment based on race, and NLRA rights to discuss her

   working conditions with co-workers.
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74. In or around March 2021, the School Board instructed its nurses, including Mrs. Jenkins, to

   begin administering COVID vaccines throughout Washington Parish.

75. Since this vaccination project was new, the entire School Board Health Staff had questions and

   experienced confusion as to the proper procedure for administering and recording vaccinations,

   all of which occurred in a text message exchange in which several School Board health staff

   employees asked questions about the vaccines to the other members of the group.

76. This text exchange occurred on March 10 and 11, 2021 - the same day Mrs. Smith alleges Mrs.

   Jenkins was insubordinate.

77. Other employees including, Amber Pounds, Genie Williams, Brittany Fussell, Leann Carter,

   Connie Johnson, and Erica Wheat all expressed questions about how to administer and record

   the vaccinations.

78. Of particular import is Brittany Fussell’s instruction that the nurses were to enter the records

   into the LINKS system. To be clear, Mrs. Jenkins’ immediate supervisor specifically instructed

   Mrs. Jenkins to add the vaccine records into the LINKS system.

79. However, many of the nurses, including Mrs. Jenkins, experienced problems accurately

   recording the medical records in the LINKS system.

80. In an effort to go above and beyond her minimum job duties, Mrs. Jenkins experimented with

   the LINKS system to obtain information as to what permissions she even had to enter

   vaccination records into the LINKS system.

81. Just like Leanne Carter and Amber Pounds, Mrs. Jenkins entered the system and tried to create

   records. She discovered that she could only partially enter records and deleted the partial

   information she had entered.
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82. To confirm the records were deleted, Mrs. Jenkins contacted the individual at the Kwik Clinic

   who was designated as her contact person to confirm the partial records were properly deleted.

83. Mrs. Jenkins also notified Ms. Fussell, her immediate supervisor, who instructed Mrs. Jenkins

   to also advise Mrs. Smith.

84. Mrs. Jenkins complied. In response, Mrs. Smith again singled out Mrs. Jenkins by disciplining

   Mrs. Jenkins and not disciplining the other nurses who performed the same and similar actions

   for which Mrs. Smith disciplined Mrs. Jenkins.

85. Mrs. Jenkins never committed any errors and she never acted in an insubordinate manner.

86. The visceral reaction and Mrs. Smith’s failure to discipline the other nurses who performed

   the same actions as Mrs. Jenkins clearly indicates Mrs. Smith has an ulterior motive for

   harassing and retaliating against Mrs. Jenkins.

87. Shortly thereafter, on April 19, 2021, School Superintendent, Frances Varnado, sent a letter to

   Mrs. Jenkins advising that she was considering termination based on reasons set forth by Mrs.

   Smith.

88. In a written response, Mrs. Jenkins rebutted each and every allegation and again complained

   of discrimination and retaliation to Mrs. Varnado.

89. In particular, she complained to Varnado of all of the above, including discrimination based

   on race and sex and retaliation.

90. Jenkins also requested a hearing.

91. Without conducting any investigation, Varnado terminated Jenkins via letter on April 29, 2021.

92. Mrs. Jenkins administered vaccines and followed the reporting procedure as commanded by

   School Board.
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93. However, Mrs. Smith’s visceral reaction to Mrs. Jenkins’s innocent and harmless actions to

   maintain accurate medical records of the vaccinations has raised serious concerns that

   something may be improper in the procedure.

94. Nurses are charged with keeping accurate medical records. Nonetheless, School Board has

   instructed its health department employees, including Mrs. Jenkins, to intentionally help Kwik

   Clinic keep inaccurate medical records by not entering the accurate vaccination information.

95. In short, School Board’ publicly funded employees appear to be performing work for which

   Kwik Clinic appears to be receiving credit and possibly even payment.

96. It is extremely alarming that School Board and Mrs. Smith in particular, seem to be retaliating

   against Mrs. Jenkins for accidentally reporting the behavior and bringing it to light.

97. It appears that Smith, Varnado and the School Board did not like Jenkins’ questions about why

   the school employees, paid with public funds, were not allowed to accurately record the

   vaccine information, but rather a private entity that did not administer the shots got to file the

   paperwork claiming it did the work.

   A. Title VII and Louisiana Anti-Discrimination Law Violations

98. Defendant employed Plaintiff.

99. Plaintiff adequately performed her duties at all times.

100.    Defendant employed more than 50 employees.

101.    Plaintiff suffered the adverse employment action of suspension and termination.

102.    Plaintiff is a female who was treated differently than her male co-workers.

103.    Plaintiff is a white person who was treated differently than her African-American co-

   workers.
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104.    Prior to her suspension and termination, Plaintiff complained to the senior-most

   administrator, Frances Varnado about being discriminated against on the basis of race and sex.

105.    After complaining, Plaintiff suffered the adverse employment action of suspension and

   termination.

106.    The discipline and termination were based on sex and/or race and/or in retaliation for

   complaining of the discrimination she suffered.

107.    Plaintiff filed charges of discrimination with the EEOC within 180 days of the occurrence

   of which she complains.

108.    On August 13, 2021, the EEOC issued a notice of right to sue to Plaintiff, and Jenkins filed

   this petition within 90 days of Plaintiff receiving said notice.

   B. Violations of § 1983, First Amendment and Fourteenth Amendment.

109.    Prior to Ms. Smith’s husband learning that Jenkins worked under Ms. Smith’s supervision,

   Jenkins had performed her work duties without incident, and she had not been disciplined.

110.    After Mrs. Smith learned that Jenkins had publicly supported a political opponent of

   Smith’s husband, Jenkins suffered numerous adverse employment actions, including

   termination.

111.    Smith targeted Jenkins in retaliation for publicly supporting a political opponent of Mr.

   Smith.

112.    Jenkins spoke as a private citizen on a matter of public concern when she publicly

   supported a political candidate.

113.    Jenkins’s public support of the political candidate did not impede the efficient performance

   of the workplace in any way.
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114.    Jenkins’s public support of a political candidate was a substantial factor in the discipline

   and termination Jenkins suffered.

115.    Smith and Varnado were acting under the color of state law as state employees with the

   authority to hire, fire, or discipline Jenkins.

116.    Smith and Varnado were acting under the color of state law when they each, acting as

   Jenkins’ supervisor, reprimanded, disciplined, and ultimately terminated Jenkins in retaliation

   for Jenkins’ political activity.

117.    Jenkins requested in writing a hearing to review the allegations raised by her supervisor

   and her own allegations, but the School Board, through Varnado, refused to conduct a hearing

   before terminating Jenkins’ employment.

   C. Violations of Louisiana Rev. stat. § 23:961, et seq.

118.    The School Board employs more than 20 people.

119.    The School Board employs Varnado and Smith.

120.    Defendants terminated Jenkins because of her express political beliefs.

121.    Through the direct actions of Smith and Varnado, the School Board and the other

   defendants attempted to control, coerce, and influence by means of threats of discharge because

   of Jenkins’ political activities.

   D. Damages

122.    Plaintiff suffered damages because of Defendant’s actions including:

        a. denial of equal employment opportunities;

        b. loss of income;

        c. loss of employment benefits including retirement benefits, insurance coverage, paid

           time off, social security benefits;
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        d. emotional and mental anguish and damage to her reputation.

123.    Defendant acted with malice and reckless disregard of Plaintiff’s civil rights.

                                    IV.     JURY DEMAND

124.    Plaintiff demands a trial by jury

                                 V. PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that the Defendants be served with a copy of this Petition

and after being duly cited to appear and answer hereto, and after the expiration of all legal delays

and due proceedings are had, that there be judgment rendered herein in favor of Plaintiff and

against Defendants as follows:

  a. Declaratory judgment that their actions violated Title VII, the First Amendment, the
     Fourteenth Amendment, and Section 1983;

  b. Enjoin Defendants, their officers and agents from engaging in the behavior complained of
     herein;

  c. Judgment ordering them to reinstate Jenkins to her previous position;

  d. Judgment awarding damages including but not limited to back pay, front pay, compensatory
     damages, emotional distress, mental anguish, pain and suffering, inconvenience,
     humiliation, and loss of enjoyment of life, together with legal interest, both pre-judgment
     and post-judgment, and for all costs of these proceedings, including expert witness fees;

  e. Judgment awarding Plaintiff her reasonable attorney’s fees and costs;

  f. Judgment for all other equitable and legal relief the Court deems appropriate.


                                              Respectfully submitted,

                                              /s/Chad A. Danenhower
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